EXHIBIT 4
The Honorable Judge Eleanor L. Ross
United States District Judge
1788 Richard B Russell Federal Building and United States Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303-3309
Courtroom 1708
Chambers 1788

Chambers 404-215-1520

Date

Re: Sentencing of Asha R Maurya

Dear Judge Ross,

My name is Davita J. Shin. I am a restaurant manager who studied Biological and Cultural Anthropology
and am currently pursuing a second degree. I have known Asha for 8 years. I first met Asha in 2011 when
I was hired as a contracted employee by the retiring CFO of LandCastle Title. I worked in Asha’s
department and left in 2014 and we have remained in contact over the years becoming close friends more
recently. I have personally witnessed the strength and moral fortitude she exemplifies in all aspects of her
life.

Asha has always had a selfless and generous in nature. She has demonstrated her philanthropic nature
without complaining or seeking sympathy for her own struggles. I have witnessed numerous occasions
where she has provided support and advice to those in her workplace struggling with personal or
professional problems. While I worked with her at the law firm, she mentored each and every member of
the team, encouraging each person to pursue more fulfilling lives, learn more, move forward in his/her
careers, and never give up passions. I am aware of several coworkers including myself who she
encouraged to pursue post-secondary degrees. Personally, Asha has always supported and advised me
when I struggled with difficulties within my own life. From early age, I have suffered from fibromyalgia and
arthritic pain, and directly through Asha’s assistance, I was able to secure medical insurance coverage
and seek specialized treatments. Additionally, in 2016 I underwent painful surgeries to remove a severe
MRSA infection and Asha was by my side when my family could not be. After my lengthy hospitalization,
despite the fact that she herself was struggling to make ends meet, Asha helped me find work and get
back on my feet. She always finds the time to aid others, and I am one of several whom she helped to
find employment following her indictment. Through these personal encounters as well as many others, I
have come to realize she is one of the most empathetic and selfless people I may ever meet.

I also believe that Asha’s painful personal history and the way that she has coped with obstacles is a
testament to her character. Asha grew up with an alcoholic father who was often physically and mentally
abusive to the entire family and eventually abandoned them. I have witnessed that this has created a
tenuous and further emotionally abusive relationship between her siblings and her mother. Overcoming
this painful history, Asha has chosen to never drink and has taken on the responsibility to protect and
care for her mother. Asha quite literally talks to her mother every day. Not only is Asha her mother’s sole
emotional supporter, but she also provides for her financially and handles all of her medical and legal
affairs. Asha teaches her mother english daily and handles disputes between her mother and her siblings.
The impact her own mistakes will have on her immediate family are a real concern along with the state of
her mother’s well being if she is left in the care of her siblings.

Despite the difficult time she has had, in many ways it has strengthened her convictions in what is morally
and ethically required of her to herself, to her community, and to her values. Asha pointedly emphasizes
the burden of the long-lasting impact her actions has had on so many, and it has taken a heavy toll on
her. Yet, she continues to exemplify compassion, generosity, and humility. To date, Asha and I frequently
discuss enlightenment, morality, God, and self improvement. Since in depth conversations regarding the
case around her has been limited, we instead discuss the necessity of a strong moral compass and the
importance of helping others. Time and again, she says that she now recognizes her own weaknesses
and she is actively making changes to better herself and to help those around her. Asha says, “We were
not placed on this earth, to ignore the problems of our fellow human beings and it is our duty to fix the
problems in our world”.

Although, Asha could not discuss the details of the case, she has never minimized her responsibility; she
has expressed a staggering remorse for her participation and wants to make amends in whatever way
she is able. Asha has lost her profession, respect in the community, and many freedoms over the past
few years which she has stated is no fault but her own. Throughout what has undoubtedly been the most
difficult time of her life, she has never wavered in her work ethic and humility. Since her indictment and
the many changes in her life, Asha has applied for and accepted labor intensive jobs in the service
industry and warehouses and worked harder than anyone around her. When she is not working on
saving money to pay any expected reparations, she is busy helping the people around her by whatever
means she is capable of. As you may already know, throughout this time, Asha has experienced several
personal difficulties including apartment floodings and burglary wherein she has lost what was left of her
material and sentimental possessions. With every struggle, Asha displays her strengthened integrity and
never wavers in her desire to repay whatever she might owe her community.

I understand the serious nature of the charges against Ms. Maurya’s, but I have full confidence that Ms.
Maurya will never be in the position to repeat her offense nor can I imagine she would ever involve
herself in any illegal activity in the future. Please consider the positive impact she has had and continues
to have on so many people throughout her life, and note all that she has already lost, and how hard she
has been working to make amends for her past mistakes.

Thank you for taking the time to consider all I have tried to convey on behalf of Asha Maurya. Should you
have any questions for me, please feel free to contact me at any time.


Respectfully,

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